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     EXHIBIT B



                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA



                                                                                     Formatted Table
    CHERYL SAGATAW,
    DEANTHONY BARNES, ROBERTA
    STRONG, and TRAVIS NELOMS,
    ALVIN BUTCHER, ADRIAN TIGER,
    CHANCE ASKENETTE, DEVEN                                 Civil Action
    CASTON, LOLA HEGSTROM, and
    RONDEL APPLEBEE, on behalf of                    0:24-cv-00001-ECT/TNL
    themselves and a class of similarly-
    situated individuals,

                                                      SECOND AMENDED
                              Plaintiffs,               CLASS ACTION
                                                       COMPLAINT AND
            vs.                                         DEMAND FOR
                                                         JURY TRIAL

    MAYOR JACOB FREY, in his
    individual and official capacity,


                              Defendant.




                                   INTRODUCTION

         Plaintiffs in this case are the evicted residents of Camp Nenookaasi1 is,

whose human and constitutional rights Defendant Mayor Jacob Frey continues to



1
    “Nenookaasi” means “hummingbird” in Ojibwe.

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violate. Defendant orders law enforcement to shuffle people from one street to

another to seize and destroy their means of survival in the name of public safety,

then blocks, underfunds, and interferes with meaningful solutions that help get

people into humane, stable housing.

      Camp Nenookaasi formed as a community-based healing camp rooted in

Native religious and cultural practices where people experiencing houselessness

can find safety and community. Camp Nenookaasi draws, drawing upon evidence-

based harm reduction principles and is shaped by and for people who live with

substance use disorder and/or other disabilities who have struggled to access or

maintain more permanent housing. strategies to meaningfully intervene in cycles of

addiction and houselessness. Over one hundred and eighty unhoused people, most

of them Indigenous, have found refuge at Camp Nenookaasi sinceafter its initial

formation in late August of 2023. The interim stability at the first Nenookaasi

location allowed approximately one hundred of these former residents to transition

from living in day-to-day survival mode on the streets to treatment and more

permanent housing.

      This group has been hugely successful, despite the three evictions and forced

relocations of Camp Nenookaasi in the past month and a half. Camp Nenookaasi

has provided the necessary interim stability for roughly one hundred now-former

residents, who were previously living in day-to-day survival mode on the streets, to


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transition into more permanent housing. Many of the remaining residents are in

various stages of the process of obtaining permanent housing, albeit with

derailments and setbacks as a result of the evictions. Camp Nenookaasi remains the

only viable option for people in need of a safe and dignified place to be while they

navigate shelter and housing systems that are frequently inaccessible to those with

substance use disorders or other disabilities.

      Plaintiffs in this case are the current residents of Camp Nenookaasi, whose

human and constitutional rights Defendant Mayor Jacob Frey continues to violate

through his perpetration of these ongoing and repeated evictions. The apparent

goal of the evictions is to prevent Plaintiffs from sleeping, building community,

and ultimately existing anywhere within the City of Minneapolis. With each

eviction, the residents of Nenookaasi are forced under threat of arrest to pack up

what belongings they can and relocate. Banished from their homes, Plaintiffs

rebuild as best they can and pray that the next eviction is not imminent.

      Instead of celebrating this miraculous success and leveraging City resources

to amplify the transformational power of community members, nonprofits, and

residents themselves working together to make change, Defendant Mayor Jacob

Frey of the City of Minneapolis launched a series of repeated evictions that pushed

Nenookaasi residents from one vacant lot to another within the same approximate

half-mile square of the East Phillips neighborhood.


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      Each eviction adds hardship and trauma. Residents lose important and

valuable items, medicines, documents, and means of survival, and causes

overdoses, relapses, and death. Camp Nenookaasi was originally a hub for social

services, housing outreach teams, harm reduction and substance use providers, and

others looking for a reliable place to find and provide support to residents. As

Defendant Frey has forced NenookaasiPlaintiffs to relocate repeatedly in the last

montheight and a half months, fewer and fewersupport providers are able to stay

connected and Plaintiffs are harder pressed to provide for themselves. Plaintiffs’

necessities are trashed as soon as they are rebuilt, and supportive services make the

transitionPlaintiffs cannot stay in touch with the Plaintiffs to the new locations to

continue working with themproviders when Defendant repeatedly bulldozes their

phones, contact lists, treatment and housing paperwork, and places they can be

found.

      Despite the accumulating damage and setbacks from these three evictions,

Nenookaasi residents continue to provide life-saving and life-changing support for

each other. Each eviction brings with it another round of stressors, induces relapses

and overdoses, and forces people to have to start from square one again. However,

without Nenookaasi, Plaintiffs would be experiencing this every single day–

starting from scratch every morning figuring out how to stay warm and safe during

the day, where to sleep at night, how to safeguard valuables, and how to endure the


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smothering hopelessness that comes with living in survival mode. Nenookaasi

provides the irreplaceable, indescribable benefit to Plaintiffs of a community

dedicated to helping each other out of this cycle. And it is this community that

above all else Defendant Frey seeks to destroy.

      Mayor Frey could choose to allocate City resources towards expanding

shelter availability, subsidizing more affordable housing, creating public health or

digital connectivity initiatives, improving sanitation services at encampments, or

any other number of worthy causes. Instead, the past year has seen taxpayer dollars

lavished on overtime for hundreds of law enforcement to drive unhoused people

out of their tents under threat of arrest, on heavy machinery to bulldoze residents’

worldly possessions into dumpsters, and on large slabs of concrete to guard the

now-unusable plots of stolen land.

      While vestiges of the relationships, care, and progress that Nenookaasi

brought to the unhoused community in Minneapolis can still be seen, the pressure

of repeated evictions reduced Nenookaasi’s ability to help residents find permanent

housing, and eventually caused Nenookaasi as a formal encampment to disband.

Survivors of Nenookaasi evictions for the most part remain unhoused. Some have

disappeared, leaving loved ones fearing the worst. Some have obtained housing

through city programs, where they attempt to recover from the trauma and material




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losses that evictions cause both directly and indirectly, by stripping unhoused

people of the modicum of safety an encampment provides.

       Nenookaasi gave residents a voice. People who had been too overwhelmed

fighting for day-to-day survival on the streets were able to advocate for

themselves, connect not only with housing workers but also with attorneys,

politicians, community organizers, and each other to clamor for better solutions

from the City of Minneapolis. From various backgrounds and perspectives, these

people continue working together, listening to each other, collaborating, and

coming up with solutions that are data- and experience-driven. But the Mayor of

Minneapolis and his evictions continue to threaten and undermine this progress.

       Defendant Frey is targeting his most vulnerable constituents, not only failing

to create a livable city for them through his own policies, but egregiously using his

power as Mayor to destroy what safety and stability they have managed to build

for themselves. Nenookaasi has been evicted from the City, but its former residents

are still here, and still suffering. Plaintiffs beg the Court to intervene, to stop this

cycle once and for allDefendant’s unconstitutional and unlawful use of executive

authority to continue wreaking havoc on Plaintiffs and the entire community of

South Minneapolis.



                                   JURISDICTION


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     1.      Plaintiffs’ claims arise under 42 U.S.C. § 1983, 42 U.S.C. § 12131,        Formatted: Font: Bold
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and the Fourth, Eighth, and Fourteenth Amendments of the United States                  Style: 1, 2, 3, … + Start at: 1 + Alignment: Left + Aligned
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Constitution, as incorporated against the States, their agencies, and their municipal

divisions through the Fourteenth Amendment.

     2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1331

because Plaintiffs’ claims arise under the United States Constitution and federal

law, and pursuant to 28 U.S.C. § 1367 because this Court has supplemental

jurisdiction over Plaintiffs’ state claims, which arise out of a common nucleus of

operative facts and constitute the same case or controversy as the federal claims at

the heart of this Complaint.

                                     PARTIES

                     Representative Plaintiff Cheryl Sagataw

     3.      Cheryl Sagataw is a 32- year-s old resident of Camp Nenookaasi and,        Formatted: Outline numbered + Level: 1 + Numbering
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an enrolled member of the Potawatomi Nation. , and a former resident of

Nenookaasi who endured repeated evictions of that Camp.

     4.      After attending high school and college in Potawotomi territory,

Cheryl worked in the food and beverage industry for ten years. She is a domestic

abuse survivor who became homeless when she lost her public housing in March

of 2023 and became homeless.




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      5.      As an unhoused personSince then, Cheryl has experienced

repeatednumerous evictions, sweeps, and displacements from the places

wherewherever she has triedattempts to set up shelter for herself. She was

repeatedly kicked out of the area under Interstate 94 and eventually relocated to the

reinstituted Wall of Forgotten Natives. When the Wall of Forgotten Natives was

cleared for the second time, Cheryl was one of many Plaintiffs who came to Camp

Nenookaasi in late August/early September of 2023.

      6.      Cheryl has found stability, security, and great meaning living at Camp

Nenookaasi. The Camp has created space for her to build community and trust, to

learn and participate in ceremonies and other culturally important practices, to

grieve losses and connect to her spirituality, to develop life skills, to access

housing and treatment resources, to stay safe from her abuser, and to plan for a

future in ways she never before thought possible.

      7.      Cheryl has endured threeRepeated evictions of Camp Nenookaasi

already. The prospect of never-ending displacement threatens all of the hard-won

stability she and her fellow residents of Nenookaasi have builteroded this progress

towards permanent stability, and Cheryl remains unhoused.

                    Representative Plaintiff DeAnthony Barnes

      8.      DeAnthony Barnes is a 35-year-old former resident of Camp                 Formatted: Outline numbered + Level: 1 + Numbering
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Nenookaasi.


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      9.     He has experienced housing instability since 2011, and been a part of

many unhoused communities.

      10.    For the past approximately two and a half months, DeAnthony has

been living atmoved to Camp Nenookaasi. He describes Camp Nenookaasi in late

2023, and described it as “unlike any other camp I have ever been in,” notable for

its “support and resources” and “coordination of care.” In fact, DeAnthony is

receivingreceived more resources at Camp Nenookaasi in a two and a half month

period than he ever received when living at Avivo, and havinghad more success as

a result.

      11.    AtWhile at Nenookaasi, DeAnthony is makingmade efforts towards

his sobriety and getting into treatment, and supportinged his girlfriend in doing

likewise. AtDeAnthony observed the power of Nenookaasi, DeAnthony observes,

in allowing people have simple but necessary thingsnecessities—like access to

heat—which freesd up mental capacity for people to “advance their thought

process” beyond survival. Being warm and safe empowersed DeAnthony to

consider working towards permanent housing and sobriety.

      12.    DeAnthony also describesd how much it meanst to know that there

are people who still care about him, and how Camp Nenookaasi buildst trust. The

Camp iswas a place of unity, where people from significantly different

backgrounds awere able to live as family. It’sIt was also a place of historical and


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spiritual significance, where Indigenous ceremonies taooke place and the history of

colonization and the pain and devastation experienced by Indigenous ancestors

iswas brought to the fore.

      13.       Like most people at Camp Nenookaasi, DeAnthony has experienced

numerous prior evictions in which he’s lost precious mementos, including pictures

of his children; valuable technological equipment containing music he has written,

produced, and recorded; critical documents such as birth certificates and other

forms of identification; and necessities for survival including a generator, clothing,

and his tent.

      14.       DeAnthony has experienced at least three evictions of Camp

Nenookaasi. With each eviction, DeAnthony losest more and more of his

possessions, and his resolve. He fears for his safety, his girlfriend’s safety, and the

well-being of the other residents who are put in danger by these ongoing evictions.

The message he hears from the evictions is that he is not allowed to be or live in

his own hometown.

                        Representative Plaintiff Roberta Strong

      15.       Representative Plaintiff Roberta Strong is a 33-year-old                  Formatted: Outline numbered + Level: 1 + Numbering
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IndigenousBois Fort member and former resident of Camp Nenookaasi. Roberta is

disabled by a traumatic brain injury inflicted upon her by an ex boyfriend.




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      16.    Roberta was living with her grandmother and several other family

members at Little Earth, but became homeless when her grandmother died in 2018.

Roberta lived on the streets, often staying at other encampments, enduring frequent

evictions and displacements. After Roberta was evicted from the Wall of Forgotten

Natives in August of 2023, she found Nenookaasi and has stayed with this

encampment since then, and moved with them through three evictions.moved into

Camp Nenookaasi.

      17.    TheRoberta endured repeated evictions of Nenookaasi, which put

Roberta into a panic.

      17.18. Because of evictions, Roberta has lost most of her belongings–clothes,   Formatted: Outline numbered + Level: 1 + Numbering
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medicine, pictures of her family, her son’s baby feet prints, and multiple forms of

identification.

      18.    Roberta has not been able to obtain housing and shelters are not an

option for her, even if a bed were to be available. At Nenookaasi, however, she has

found stability, and community, unlike anywhere since she’s been unhoused.

Roberta’s two cousins also live at Nenookaasi, so she is able to look out for them,

and to accept care from others as well.

      19.    Roberta has no form of identification. She struggles with getting her    Formatted: Outline numbered + Level: 1 + Numbering
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basic needs met and with the ongoing impacts of her traumatic brain injury. Given

the well-documented inadequacy and unavailability of temporary shelter beds,


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which are more accurately described as mats on the floor, Nenookaasi is the only

safe place for her to be.The unparalleled stability and community at Nenookaasi

transformed her, particularly by allowing her to give and receive care for her

cousins and for others.

     20.     Nenookaasi is Roberta’s lifeline, not only for herself but also for the

family members she looks after who live here with her.

     20.     Constant displacement undermines this progress. Roberta remains

unhoused and subject to being evicted from a camp at a moment’s notice.

                      Representative Plaintiff Travis Neloms

     21.     Travis Neloms is a 34-year-old former resident of Nenookaasi.             Formatted: Outline numbered + Level: 1 + Numbering
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     22.     He is Native Puerto Rican and African American, and lives with

several diagnosed mental health conditions.

     23.     For much of his life, Travis has lived with precarious, unstable, or

nonexistent housing. Travis has been living in proximity to many of the same

people who now reside at Nenookaasi forFor the past five years at various

encampments and tent sites around Minneapolis, , the City has pushed Travis from

one locationencampment or tent site to another, enduring eviction after eviction,

and occasionally attempting to find all around Minneapolis. Amidst constant

evictions, Travis periodically attempts to obtain housing or staying at a shelter.




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        24.    Travis’s experienceexperiences trying to stay in shelters has been

horrible. He was often unable to obtain a spot, given shelters’ limited capacity.

Even when he did manage to find a spot, he found shelters to be unsafe and

unhygienic, with people stealing each others’ belongings and with sleeping

arrangements that lacked any privacy or dignity. On multiple occasions he became

ill because of staying in a shelter. And the next morning he would face again the

often impossible challenges of finding somewhere to be during the day and the

following night, and where to store his belongings in the meantime.

        25.    For the past several months, Travis has been livingcame to live at

Nenookaasi. in late 2023. In his words, “I didn’t find Nenookaasi, Nenookaasi

found me.” Being at Nenookaasi has beenbrought a different experience inlevel of

care, stability, safety, and hope than Travis hashad ever experienced anywhere

else.

        26.    For Travis, Nenookaasi is a place where a group of people who are all

struggling still find the energy to support each other, from a place of shared

understanding, and as a result people are inspired to do better for themselves and

for the group.

        27.26. Nenookaasi iswas also much safer, more peaceful, less violent for         Formatted: Outline numbered + Level: 1 + Numbering
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Travis than his experience being out on the street or in a shelter. When Travis was

living on the street or in a shelter he had a hard time storing or protectingretaining


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his belongings, but at Nenookaasi he is able to retaincould keep at least the basic

necessities, including life-saving items such as his anti-seizure medications,

without having to worry about whether he willwould still have access to them

when he needsed them–at least until another eviction happens.

      28.27. In past evictions, Travis has lost thousands of dollars worth of clothes,

bicycles, tents, blankets, medications, and other staples. He has lost important

documents such as court paperwork and various forms of identification. Replacing

identity documents has been an almost impossible task, given that replacing one

form of identification requires showing proof of another, and during Nenookaasi

evictions Travis lost his driver's license, social security card, and his birth

certificate.

      29.28. He is attempting to rebuild his supply of necessities, but fears that

another eviction is imminent and the rug will be pulled entirely out from under him

time and time again.

                       Representative Plaintiff Lola Hegstrom

      29.      Lola Hegstrom is a 41-year-old former resident of Camp Nenookaasi.

She is a member of Red Lake Nation, and is currently unhoused. She has PTSD,

severe depression, anxiety, and Borderline Personality Disorder, as well as

debilitating back pain that requires her to sleep upright in a chair.




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     30.     After Lola was evicted from the Wall of Forgotten Natives, she came

to Nenookaasi. She stayed by herself in a tent, but enjoyed having people nearby.

Being at an encampment, especially Nenookaasi, felt safe and gave her a sense of

community. This security kept Lola with the group throughout multiple evictions.

     31.     At one point, Lola attempted to use the storage that she had heard,

secondhand, the City was offering. The City only allowed her to store one tote.

Because storage was so hard to access and because she needed access to the stored

items, she ended up having to remove even that one tote from storage.

     32.     After the fire destroyed Nenookaasi on 28th Street and 12th Avenue,

Lola moved with the other residents of Nenookaasi to 28th Street and 14th

Avenue. On July 25, 2024, Lola was asleep in her tent when law enforcement

entered the encampment at around 7AM with no prior warning or announcement

and told everyone that they had ten minutes to gather what they could carry in one

trip and depart.

     33.     At evictions, Lola has lost jewelry, clothing, her sleeping chair, tents,

expensive purses, her childrens’ toys, her birth certificate, mental health and

medical paperwork, a generator, and more. When Lola protests to law enforcement

at evictions that she needs more time in order to pack up her belongings, law

enforcement falsely and prejudicially assume that she has stolen her belongings as

a way to justify forcing her to abandon her valuables.


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     34.     Repeated evictions take a toll on Lola’s mental health. She is tired of

the assumptions, prejudice, and false solutions put forward by people who do not

understand the problem.

                     Representative Plaintiff RonDel Applebee

     35.     RonDel Applebee is a 29 year old former resident of Camp

Nenookaasi. He is a descendant of Standing Rock Oglala Sioux, and a member of

Fond du Lac Nation of Ojibwe.

     36.     RonDel has lived in Minneapolis his whole life and graduated from

Augsburg Fairview Academy. He experienced housing instability and hardship

from a young age, and suffers from PTSD, chemical dependency, anxiety, and

depression. His family has experienced tremendous losses. RonDel is committed to

staying connected to and caring for the relatives he has left, and stays close to his

younger cousin Chance so he can look out for him.

     37.     After being evicted from the Wall of Forgotten Natives in August of

2023, RonDel joined Chance at Camp Nenookaasi. At the first Nenookaasi

eviction, he was allowed time to retrieve belongings and to help others move.

     38.     At the next Nenookaasi location, 26th and 14th, RonDel was only

allowed to make one trip out, and therefore lost the majority of his possessions,

including a folder of important documents. At that eviction lost his ID and his




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social security card, which he has yet been unable to replace. He was unable to find

his family until after the next Nenookaasi location was evicted.

      39.    RonDel rejoined the group at the 28th and 12th location, then moved

with the others to 28th and 14th after the fire. While at the 28th and 14th

Nenookaasi encampment, RonDel was able to make contact with a housing worker

and apply for a referral.

      40.    After completing the referral, RonDel waited sixty days before he was

placed in housing. RonDel’s mother had also been given housing through Helix, on

an earlier timeline than his, so eventually he went to stay with her while he waited.

      41.    RonDel worried for his mother’s safety in her Helix housing

placement. He described her neighborhood as a “war zone.” Shootings happened

routinely in and around the building, with bullets flying through the window and in

the hallways. RonDel asked his mom to sleep in the back room because he

believed that to be the safest place for her.

      42.    At around the same time that RonDel’s own Helix housing placement

came through, his mother’s entire building was condemned. Instead of finding a

new housing placement for her, Helix sent her to a shelter.

      43.    RonDel has been housed through Helix in South Minneapolis for

about two months now, but he is worried that he will be kicked out. He has gotten

emails saying that his rent is not being paid. Helix is taking half of his general


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assistance payments to put towards rent and was supposed to be paying the

remainder, but the overdue notices and late fees make RonDel worry that he will

soon become homeless again due to corruption in the program ostensibly designed

to help him.

                      Representative Plaintiff Chance Askenette

     44.       Chance Askenette is a 24-year-old former resident of Nenookaasi and

is Oglala Lakota, a member of Pine Ridge.

     45.       For the first twelve years of his life, Chance moved from his parents’

home to his grandmother’s to foster care and back. Chance ran away at age twelve

to avoid being taken again by child protective services, and has spent the second

half of his life homeless.

     46.       Chance was at Camp Nenookaasi since its inception. The camp gave

him safety and structure, and he stuck with the group from eviction to eviction. For

most, Chance was only able to make one trip with his belongings when ordered to

vacate by law enforcement and was not told in advance the eviction was coming.

As a result, he has lost sentimental, expensive, life-saving, and needed belongings.

     47.       He would consider storing his belongings downtown, but has never

spoken to anyone from the Homeless Response Team or the City about it and is

unclear how that offering would work or how to use it.




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     48.     He currently lives at an encampment in East Phillips with several

family members. His cousin RonDel visits often to check on him.

                       Representative Plaintiff Adrian Tiger

     49.     Adrian Tiger is a 35-year-old former resident of Camp Nenookaasi

and a member of the Standing Rock Sioux Nation. He was born and raised at Little

Earth, and has been homeless for a long time.

     50.     Adrian came to Nenookaasi when it first formed, and stayed because

he felt safer there and he liked being around family. He moved with Nenookaasi

throughout the repeated evictions. At these evictions, he often woke up to law

enforcement ordering him out of his tent and was unable to bring more than

whatever he could carry with him in one or two trips. As a result, he has lost

clothes, shoes, electronics, valuables, important papers, and identity documents.

     51.     He has attempted to obtain housing in the past, without success, and

as a result has no choice but to remain on the street.

                       Representative Plaintiff Deven Caston

     52.     Deven Caston is 34 years old and a former resident of Nenookaasi. He

grew up in various Minneapolis suburbs, and has been homeless since about four

years ago when he and the mother of his child lost their apartment.

     53.     Being unhoused makes it hard for Deven to take care of himself. He

has ADHD and anxiety, but stopped going to therapy. A few winters ago, while


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sleeping without shelter, Deven was afflicted by such severe frostbite that the toes

on his left foot fell off. He continues to experience mobility issues and severe pain

in what remains of his foot to this day.

     54.     Since moving to Nenookaasi after the eviction of the Wall of

Forgotten Natives, Deven has been evicted several times. Because of these

evictions, Deven repeatedly loses the entirety of whatever belongings he has been

able to accumulate since the last time he was evicted, aside from the occasional

grocery bag of food or clothes he is able to carry with him.

     55.     Despite his physical limitations and pain, Deven does his best to be a

good neighbor. He picks up trash in the alley where he stays, and gets hired for odd

jobs now and then doing light yard work for adjacent apartments. Deven values

contributing positively to the neighborhood. The evictions make him feel horrible,

unwanted by everyone. He picks up trash to change others’ impression of him.

     56.     Deven remains unhoused at an encampment in the East Phillips

neighborhood, but has been attempting to get housing. A case worker was

previously helping him, but stopped coming. Deven worries that she is unable to

find him given his constant displacement, or worse–that she gave up on him.

                      Representative Plaintiff Alvin Butcher

     57.     Alvin Butcher is a former resident of Nenookaasi, a member of White

Earth, the Mississippi Band of Ojibwe, and currently lives in an encampment in


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East Phillips. Alvin has PTSD, depression, and a physical disability stemming

from several botched surgeries in his right foot.

     58.     Alvin has a background in the construction industry and has lived in

South Minneapolis for most of his life in order to be close to his children. His

landlord kicked him out during the initial COVID-19 pandemic, but he did not

contest the illegality of that eviction because he was worried about potential

negative impacts on his rental history.

     59.     In November of 2023, Alvin moved into Nenookaasi and was evicted

with the group several times. He recalls having more time at that first January

eviction, but being forced out in a hurry at subsequent evictions, causing him to

lose clothes, blankets, food, important papers, and electronics.

     60.     At one eviction of Nenookaasi, law enforcement told him that if he

was not out of his tent, it would be bulldozed with him still in it.

     61.     Alvin lives with his partner. They are not married, so going to a

shelter would mean being separated from her. He knows that she would not be safe

in a shelter given her own mental health struggles that shelters are not equipped to

handle, and says he would rather sleep on the ground in a tent with her than lie

awake in a shelter worrying about her safety.

     62.     Alvin is very concerned with cleanliness at encampments where he

stays. Like many of his fellow residents, he takes pains to keep the area clean and


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wishes the City provided better sanitation services. He buys trash bags and

distributes them among other residents and encourages everyone to do their part.

     63.      The repeated evictions are challenging for Alvin emotionally. The

uncertainty and instability exacerbate his depression. He has been trying

unsuccessfully to find housing. He was approved for it, but the agency stopped

contacting him. Alvin slipped through the cracks in a broken system.

                            Represented Class Plaintiffs

     30.64. Plaintiffs in the Represented Class are the other unhoused people who      Formatted: Outline numbered + Level: 1 + Numbering
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have found a temporary home at and experienced evictions from Camp

Nenookaasi.

     31.65. Upon information and belief, former Camp Nenookaasi residents have

physical and/or mental disabilities, disorders, and/or conditions, including

substance use disorders.

     32.      Upon information and belief, Camp Nenookaasi residents have

suffered prior evictions in Minneapolis, including the three prior evictions of Camp

Nenookaasi since its formation in August of 2023.

     66.      Represented Plaintiffs are defined precisely by those who were

evicted one or more times from Camp Nenookaasi since its formation in August of

2023 at the following approximate locations and dates: on 23rd Street and 13th

Avenue on January 4, 2024; from 2601 14th Street, on January 30, 2024; from


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2213 16th Avenue on February 1, 2024; and/or from 2839 14th Avenue on July 25,

2024.

     67.     These repeated evictions forced Nenookaasi as a formal encampment

to disintegrate and eventually disband, but Defendant continues to evict Plaintiffs

from one lot to another in the East Phillips neighborhood.

     33.68. While each of these Plaintiffs have their own unique story—who they        Formatted: Outline numbered + Level: 1 + Numbering
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are, where they come from, and what particular struggles have led them to be

otherwise unhoused—all of the Represented Class Plaintiffs now find themselves

in experienced injuries of the same situation, having endured three evictions in a

month’s timeelk and facingtraceable to the prospect of untold more. same

Defendant.

     34.69. With each eviction, Plaintiffs’ shelters are bulldozed, their belongings

seized and destroyed, their beds thrown in a dumpster, their ceremonial fire and

other sacred sites desecrated, their community scattered under threat of arrest.

     35.70. ButAside from the few who manage to obtain and remain in housing,

Plaintiffs must rebuild following every eviction, albeit bringing fewer belongings

and more new traumas to each new site. Plaintiffs rebuild because Camp

Nenookaasi is irreplaceable. By providing food, warmth, shelter, community,

harm-reduction and cultural healing, Camp Nenookaasi serves as a crucial stepping

stone to housingscatter and sobriety, a placereform a few blocks away every time,


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only to find community and safety, and a meansbrace for the next round of survival

when residents have nowhere else to simply exist. pointless displacement.

     36.71. All of the Represented Class Plaintiffs and their Representatives seek

to enjoin the practice of ongoing evictions, to stop the arbitrary and hostile

relocation of Camp Nenookaasiunhoused people from placeone empty lot to

placeanother in circles around south Minneapolis. Plaintiffs ask this Court to

preserve put an end to dangerous constitutional violations that Defendant

perpetrates, at the opportunities for growthexpense of true gains in safety and

transformation that they are co-creating, togethersecurity for Plaintiffs and with

their housed neighbors, at Camp Nenookaasithe community at large.

                           Defendant Mayor Jacob Frey

     37.72. Defendant Jacob Frey is sued in his official and individual capacity.     Formatted: Outline numbered + Level: 1 + Numbering
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In his official capacity, Defendant Frey is the Mayor of the City of Minneapolis, a

municipality incorporated in the State of Minnesota. In his personal capacity,

Defendant Frey is a resident of Minneapolis. As Mayor, Defendant Frey is

obligated to uphold the laws and ordinances of the State and City, and has

exclusive control and authority over the Minneapolis Police Department.

     38.73. Defendant Frey campaigned for mayoral office on a promise to “End

Homelessness.” Instead of making good on that promise by engaging with the

community in meaningful and realistic ways, Defendant Frey has implemented


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policies and initiatives to drastically increase sweeps and evictions of houseless

encampments, using his authority over the Minneapolis Police Department to

inhumanely displace people, destroy their homes, and continue the cycles of

violence and trauma faced by the City’s most vulnerable residents.

             CLASS QUALIFICATIONS FOR CERTIFICATION

      39.74. Pursuant to Federal Rules of Civil Procedure 23(a) and 23(b)(2),             Formatted: Outline numbered + Level: 1 + Numbering
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named Plaintiffs Cheryl Sagataw, DeAnthony Barnes, Roberta Strong, and Travis

Neloms, Alvin Butcher, Adrian Tiger, Chance Askenette, Deven Caston, Lola

Hegstrom, and RonDel Applebee bring this class action on their own behalves and

on behalf of all other similarly situated evicted former residents of Camp

Nenookaasi. This case meets the prerequisites for class formation and for the type

of action brought.

                                   Class Formation

      40.75. The following prerequisites allow one or more members of a class to          Formatted: Outline numbered + Level: 1 + Numbering
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sue as representative parties on behalf of all members: “(1) the class is so

numerous that joinder of all members is impracticable; (2) there are questions of

law or fact common to the class; (3) the claims or defenses of the representative

parties are typical of the claims and defenses of the class; and (4) the representative

parties will fairly and adequately protect the interests of the class.” F ED. R. CIV.

PRO. 23(a). This case meets these prerequisites for class certification.


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     41.76. Numerosity. The class is so numerous that joinder of all members is

impracticable. The practicality of joinder is evaluated on a case-by-case basis and,

while no specific numerical threshold exists in law, factors to be considered

include “the size of the class, ease of identifying its members and determining their

addresses, the facility of making service on them if joined, their geographic

dispersion and whether the size of the individual claims is so small as to inhibit

individuals from separately pursuing their own claim.” Glenn v. Daddy Rocks, 203

F.R.D. 425, 429 (8th Cir. 2001). This case involves well-over one hundred former

residents of Camp Nenookaasi, all of whomwho multiple evictions have lived at

the Camp because they are otherwise unhousedsince dispersed and without any

other address. While some of Nenookaasi’s former residents have found

temporary or even long-term housing, many remain otherwise unhoused, have

faced numerous evictions,who ase a result frequently lose the means and could be

evicted again at a moment’s notice. Without reliable mailing addresses, serving all

Plaintiffs individually would be impossible. When evictions occur, Plaintiffs and

others similarly situated geographically disperse and are often difficult to locate

again.manner of contacting supporters, such as attorneys. Plaintiffs also are

unlikely to be able to pursue claims as individuals because they are indigent,

extremely under-resourced, cannot afford to hire private counsel, and lack the




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physical or technological access to a courtroom. Even for those who obtain

housing, this is often only temporary.

     42.77. Commonality. There are of Questions. The case is comprised

primarily of legal and factual questions of law or fact that are common to the class.

Each member of the class has, based on a discrete number of evictions within the

past year, all executed by the same legal claims, as set forth below. The Defendant

within the same roughly half-mile square area. For each Plaintiff class consists of

all residents of Camp Nenookaasi who are otherwise unhoused. For each of them

individually and for the class as a classwhole, Defendant Frey violates the same

Constitutional and statutory rights in a functionally identical manner, by directing

his law enforcement agents to destroy Plaintiffs’ homes, including their property,

privacy, and shelter, and disrupts their chance at attaining sobriety and/or long-

term housing, and their means of survival.

     43.78. Typicality of Claims. The claims of the representative party are typical

of the claims of the class. “A class representative must be part of the class and

‘possess the same interest and suffer the same injury’ as the class members.”” so

that pursuing their individual interests will advance the interests of the class.

General Telephone Co. of Southwest vs. Falcon, 457 U.S. 147, 156-157 (1982)

(citing East Texas Motor Freight System, Inc. v. Rodriguez, 431 U.S. 395, 403).

Cheryl Sagataw, DeAnthony Barnes, Roberta Strong, and Travis Neloms, Alvin


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Butcher, Adrian Tiger, Chance Askenette, Deven Caston, Lola Hegstrom, and

RonDel Applebee, like each of the class Plaintiffs, live at Camp Nenookaasi and

faceexperienced the stress, trauma, and violencedevastation of the repeated

evictions. Their and are likely if not guaranteed to continue being subjected to

them. By pursuing their individual claims against ongoing evictions, they will

simultaneously further the interests are identical to those of the represented class

members—namely, for the evictions to be enjoined and the residents permitted to

remain and benefit, whose harms stem from Camp Nenookaasi, rather than endure

yet another forced displacement. that same practice.

      44.79. Adequacy. The representative Plaintiff will fairly and adequately

protect the interests of the class. Because Cheryl Sagataw, DeAnthony Barnes,

Roberta Strong, and Travis Neloms are residents of Camp Nenookaasi, they have

the same goals and interests as the other residents—to halt the Mayor’s eviction.

There is no reason why they cannot fairly and adequately protect the interests of

the class. The Eighth Circuit has established that “each“[E]ach representative’s

interests must be sufficiently similar to those of the class that it is unlikely that

their goals and viewpoints will diverge.” Turtle Island Foods, SPC v. Richardson,

425 F. Supp. 3d 1131 (8th Cir. 2019). Like in Turtle Island Foods, the

representatives of this class have similar interests to those of the class in that they

are all looking to stop Defendant Frey from destroying their communal home.


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Because all members of the class, including Cheryl Sagataw, DeAnthony Barnes,

Roberta Strong, and Travis Neloms as representatives, seek first and foremost to

have their shelter, stability, and community preserved, it is unlikely that these goals

and viewpoints will divergeBecause Cheryl Sagataw, DeAnthony Barnes, Roberta

Strong, Travis Neloms, Alvin Butcher, Adrian Tiger, Chance Askenette, Deven

Caston, Lola Hegstrom, are all currently unhoused, and because RonDel Applebee

is currently threatened with the prospect of becoming unhoused soon and because

he is deeply invested in the well-being of his loved ones who remain unhoused, all

Representative Plaintiffs have the same goals and interests as the rest of their class.

They want meaningful solutions to the housing crisis, which starts with putting an

end to resource-intensive evictions that are widely known to only exacerbate the

very problems that they purport to address.                                               Formatted: Not Highlight


                                    Type of Action

      A class action may be brought when “the party opposing the class has acted

or refused to act on grounds that apply generally to the class, so that final

injunctive relief or corresponding declaratory relief is appropriate respecting the

class as a whole.” FED. R. CIV. PRO. 23(b)(2). Here, the requested relief is for

Defendant to be enjoined from evicting Plaintiffs when they have nowhere else to

live, and from seizing and destroying their property. That relief, the cessation of

evictions, would benefit the whole class of residents at Camp Nenookaasi.


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Plaintiffs here request an “available approach that is gaining ground in class action

lawsuits,” wherein Representative Plaintiffs seek injunctive relief on behalf of the

whole class, and then evaluate damages on an individual basis. Ebert v. General

Mills, Inc., 823 F.3d 472, 480 (8th Cir. 2016).

                             FACTUAL BACKGROUND

    The Repeated Forced Relocation of Camp Nenookaasi by Defendant Frey
    Continues a Centuries-Old Legacy of Displacement of Indigenous Peoples.
      45.80. Camp Nenookaasi iswas Indigenous-led, and its residents awere                      Formatted: Outline numbered + Level: 1 + Numbering
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predominantly people of Indigenous ancestry and/or enrolled Native American

tribal members. Defendant Frey’s proposed eviction ofEvicting Camp Nenookaasi

is simplywas the latest iteration in a long history ofcenturies-old pattern whereby

colonizing governments forcibly displacinged Indigenous peoples from stolen land

for political, personal, and/or financial gain.

      46.81. Systemic and genocidal2 displacement has typified the relationship

between the colonizing governments of Europe, the U.S., and its territorial and


2
  Use of the word “genocidal” to reflect the relationship between settler-colonizers and
Indigenous peoples is intentional and not hyperbolic. The Holocaust Museum in Houston gives a
cursory overview of this genocide as follows:

     When European settlers arrived in the Americas, historians estimate there
     were over 10 million Native Americans living there. By 1900, their estimated
     population was under 300,000. Native Americans were subjected to many
     different forms of violence, all with the intention of destroying the
     community. In the late 1800s, blankets from smallpox patients were
     distributed to Native Americans in order to spread disease. There were



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subsequent state governments, and Indigenous peoples from the beginning.their

first contact.

      47.82. The State of Minnesota has been no exception. It portrayed the

original occupants of this land as disposable and subhuman, at best inconveniences

that posed barriers to putting the land to “better” (i.e., more profitable) uses. As a

report read at a 1901 meeting of Governor Ramsey’s Executive Council described:

       The object of [the 1841 Treaty of Governor Doty] was not to
       open the country for settlement, but primarily to provide a
       location for the Winnebago Indians, who, since the cession of
       their lands in 1837, had been on the government’s hands under
       promise of a permanent home; and, secondarily, to furnish
       reservations for a number of other tribes similarly situated. In
       short, it was designed to create of the Sioux country a second
       Indian Territory, into which to dump all the odds and ends of
       Indian tribes still left east of the Mississippi. Fortunately,
       however, this treaty failed of confirmation by the Senate, and
       thus this vast and fertile territory was saved to a grander destiny.
       Thomas Hughes, Report on the 1841 Treaty of Governor Doty,
       Executive Council Meeting (Sept. 9, 1901), available at
       https://tile.loc.gov/storage-
       services/service/gdc/lhbum/0866e/0866e _0125_0154.pdf.




     several wars, and violence was encouraged; for example, European settlers
     were paid for each Penobscot person they killed. In the 19th century, 4,000
     Cherokee people died on the Trail of Tears, a forced march from the southern
     U.S. to Oklahoma. In the 20th century, civil rights violations were common,
     and discrimination continues to this day.

Genocide of Indigenous Peoples, HOLOCAUST MUSEUM OF HOUSTON, https://hmh.org/library/
research/genocide-of-indigenous-peoples-guide/ (last visited Apr. 24, 2022).

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      48.83. Minnesota’s “grander destiny” meant that Indigenous people would           Formatted: Outline numbered + Level: 1 + Numbering
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be, once again, forcibly or duplicitously relocated so that the land could be cleared

for colonists’ settlement. Id.

      49.84. Camp Nenookaasi sits on Plaintiffs are evicted repeatedly from lands

previously taken from the Dakota peoplesits original Indigenous stewards through

deception, bad faith, duress, and violence more than a century ago. See generally

Minnesota Historical Society, “Minnesota Treaties,” The U.S.-Dakota War of

1862, https://www.usdakotawar.org/history/treaties/minnesota-treaties.

      85.    Nenookaasi exists in defiance of these ongoing attempts to rid what is

now Minneapolis of its original inhabitants, using decolonial and anticolonial

values and practices to resist the Indigenous displacement that persists today.

Indigenous displacement persists today, particularly in the East Phillips

neighborhood. Defendant targets the disproportionately Indigenous unhoused

population with eviction after eviction, moving people from one block to another

indefinitely in an attempt to make them go away.

50.                                                                                     Formatted: No bullets or numbering


 Defendant Frey Pursues an “End to Homelessness” Through Cruel, Repeated
 Displacements of Unhoused Minneapolis Residents with Nowhere Else to Live.
      51.86. Under the guise of his campaign promise to “end homelessness in five       Formatted: Outline numbered + Level: 1 + Numbering
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years,” Defendant Frey has worked to keep unhoused people destabilized and on

the move.


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     52.87. Defendant Frey has overseen the routine dismantling of encampments

since he took office in 2018, with significant brutality and negligible support for

evicted residents aside from taking credit for what other organizations, community

members, and residents themselves have managed to pull together.

     53.88. When the Wall of Forgotten Natives was first cleared in 2018, newly

elected Defendant Frey and the police he commands played a muted role: instead,

local nonprofits, Red Lake Nation, and others in city government spent countless

hours and millions of dollars to transition the 175 residents from the encampment

to temporary shelter. Deena Winter, Minnesota Reformer, “Powderhorn Park

residents win reprieve from eviction, for now” July 2, 2020 (last viewed Dec. 17,

2023) https://minnesotareformer.com/2020/07/02/powderhorn-park-residents- win-

reprieve-from-eviction-for-now/.

     54.89. When the encampment at Powderhorn Park formed in spring of 2020,

Defendant Frey became a vocal critic of the encampment, although he

simultaneously recognized there were no other places where all of the

encampments residents could live. Id. and @WedgeLIVE, Twitter (July 2, 2020

3:55 PM) https://twitter.com/WedgeLIVE/status/1278779243116130304?s=20

(“[T]he city doesn’t have the resources or ability to meet the significant and

immediate need [of the Powderhorn Park residents].”). In fact, Defendant Frey




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tacitly acknowledged that the encampment size was growing because so many

people were coming to access services. Id.

     55.90. As Defendant Frey himself admitted, the reason unhoused people

moved to the encampment was because residents there were better able to access

treatment and housing services. Id. Nonetheless, he continued to oppose the

encampment, suggesting that he would prefer that the symptoms of poverty and

houselessness—including overdoses and illness, heatstroke and freezing to death—

occur at higher rates in hidden and isolated ways, rather than have people gather to

access the support in centralized communities like Nenookaasi or the Powderhorn

encampment to improve their lives through supports that isare otherwise

unavailable to them without a centralized community like the Powderhorn Park

encampment or Nenookaasi.

     56.91. By August of 2020, Defendant Frey got his way. Over widespread

public opposition, he ordered the Powderhorn Park encampment to be evicted and

destroyed. Niko Georgiades, Unicorn Riot, “Minneapolis Police Sweep West

Powderhorn Encampment, Pepper Spray Defenders” August 15, 2020 (last viewed

Dec. 17, 2023) https://unicornriot.ninja/2020/minneapolis-police-sweep-west-

powderhorn-encampment-pepper-spray-defenders/. Mayor Frey first threatened the

encampment residents with an eviction notice, and then threatened residents with

armed police officers, chemical irritants, and drawn weapons. Id. At his behest,


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Minneapolis police officers physically pulled people out of their tents, arrested

them, bulldozed their belongings, and threw everything into dumpsters. Id.

     57.92. The destruction of these two large encampments are just the tip of the

iceberg. Plaintiffs have been forcibly displaced so many times that most have lost

count. For Minneapolis’ unhoused population, these evictions are not only

frequent, but disastrous when considered in isolation as well as cumulatively.

     58.93. When encampments are demolished, former residents do not simply

disappear. They are uprooted from their homes, forced to find a new place to

sleep, a new shelter against the elements, new bedding to keep them warm,

because their only protection against freezing winter nights is now crumpled in a

dumpster.

     59.94. Some relapse or overdose, turning to substance use to numb the stress,

pain, and hopelessness. Residents lose critical identification, paperwork, and cell

phones, lose their connection to outreach workers and resources, lose their spot on

waist lists for housing and treatment, and miss appointments and court dates. They

are stolen and sex-trafficked, go missing, and are murdered. When residents lose

the stability of an encampment, they lose the relationships with social workers,

substance use counselors, lawyers, and other members of the community who had

been depending on the encampment to be able to locate their clients. This reverses




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progress made towards attaining sobriety, applying for jobs, clearing arrest

warrants, and obtaining permanent housing.

      60.95. Defendant Frey campaigned on a promise to “end homelessness.” But

in actuality, his promise appears to have been more that he would hide

homelessness, even at the expense of prolonging and exacerbating it by repeatedly

seeking to eradicate. Defendant Frey eradicated the hugely successful bridge to

long-term and permanent housing that iswas Camp Nenookaasi and any semblance

of stability its former residents have attempted to regain since.

 Nenookaasi iswas a Necessary Stopgap due to the Housing Crisis and Lack of
   Available and Humane Alternative Places for Unhoused People to Live
      61.96. As of October 2023, the median monthly rent in Minneapolis was           Formatted: Outline numbered + Level: 1 + Numbering
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$1,127 for a one bedroom unit and $1,500 for a two bedroom. HousingLink,

Minneapolis Rental Housing Brief (October 2023). Housing providers screen

applicants and require them to have an income of 2.5 times the rent, id., but since

at least some manner of housing is functionally a prerequisite to employment it

becomes almost impossible to break out of the cycle of homelessness without

external support. Still, Mayor Frey is committed to blocking rent control

initiatives.

      62.97. Some local housing resources exist, but accessing public housing can

be a long process as outreach workers must meet with clients and others repeatedly

over time to gather documents and paperwork, resolve warrants, etc. People must


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have a consistent meeting place to regularly connect with outreach workers

towards their housing goals.

     63.98. Shelters simply do not provide this kind of stability, nor are they a

realistic or viable option for many unhoused people. Shelters are often full or

inaccessible, leaving unhoused people with few sustainable alternatives to making

a shelter for themselves. Shelter resources are highly inaccessible, particularly

outside of the Hennepin Shelter Hotline’s hours. Shelters simply do not have

enough beds, or even mats on the floor, to provide a space for everyone who might

need a place to sleep. Every night would be a gamble, for someone to rely on a

shelter for stability, which is unsafe and unrealistic. What shelter resources do exist

are highly inaccessible, particularly outside of the Hennepin Shelter Hotline’s

hours and for those with mental and physical disabilities. Unhoused people find

shelters to be unsafe hubs of disease, violence, and theft where people are

frequently discriminated against, mistreated, and kicked out.

     64.99. The Mayor claimed that 90 new shelter beds would be made available

January 1 and 2, 2024, in anticipation of the January 4, 2024 eviction of

Nenookaasi. In practice, this additional capacity did not materialize, and in fact the

available shelter resources are currently slated to decline, as residents, supporters,

and City Council members have repeatedly noted. To this day, there are not




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enough shelter beds in comparison to the number of unhoused people in this City,

let alone the residents of Nenookaasi.

      65.    Even if a shelter bed were to be available for each resident, shelters

are unacceptable conditions to expect or require a person to be subjected to.

Shelters have rules that many people, for a variety of reasons, simply cannot

comply with, or are accused of violating with little to no recourse or opportunity

for due process to challenge the validity of such accusations. People are not

allowed to stay with their loved ones or pets. Shelters lack privacy, and often offer

people nothing more than sleeping on mats packed together on the floor. People

get sick from staying at shelters, and risk their belongings being stolen.

      66.100.       Shelters are fundamentally unstable. Each morning people are          Formatted: Outline numbered + Level: 1 + Numbering
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kicked out and face another day of wondering if they will manage to procure a spot

at a shelter the next night, and what they will do if, as is likely given the fact that

spots fill up sometimes less than an hour after the hotline opens, they cannot obtain

one. Shelters provide people with no means of keeping belongings safe, nowhere

to go during the day, and above all else no sense of community or the opportunity

to build the kinds of life-saving relationships that Nenookaasi engendersa stable

encampment can engender.

      67.    At camp, unlike a shelter where every day you start from zero, people

can pick their heads up and think about the future. This is what gets unhoused


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encampment residents out of the cycle—this interim stability, care, relationships

and connections with other people.

     68.101.       At Camp Nenookaasi, residents are providingcould provide for       Formatted: Outline numbered + Level: 1 + Numbering
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themselves and each other to create a stable stepping-stone home that bypassesd

the significant challenges, dangers, and uncertainties that plague the existing

shelter system. Plaintiffs are working hard toStable encampments create an

environment that allows themPlaintiffs not only to survive being homeless, but

also to transition out of homelessness.

     69.102.       Unfortunately, if history is allowed to repeat itself, Defendant

Frey will evict and Frey’s eviction campaign is dead set on keeping Plaintiffs

trapped in this cycle, ordering law enforcement and bulldozers to destroy Camp

Nenookaasi and Plaintiffs’ hopesany stability Plaintiffs manage to build for the

better future they were building together.themselves.

  Defendant Frey, Over Objections from City Council and Other Government
  Officials, Has Evicted CampOrdered Repeated Evictions of Nenookaasi and
                             Subsequent Camps.
                The initial Nenookaasi Three Times and Counting.                      Formatted: Font: Not Bold, Not Italic


     70.103.       Evictioneviction announcements, and delays, and subsequent         Formatted: Outline numbered + Level: 1 + Numbering
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actions reflect reflected the tension between Defendant Frey and the significant

block of Minneapolis officials who recognized that, until the City provides other

meaningful solutions, Camp Nenookaasi is filling lifesavingfilled life saving gaps

in services for the unhoused communityresidents during a Declared Public Health

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Emergency of Unsheltered Homelessness. See, e.g., Minneapolis Public Health &

Safety Committee Meeting, Jan. 31, 2024, available at

https://www.youtube.com/live/IgD6sB6GkXI?feature.

     71.104.       With tireless advocacy from organizers, community members,

and residents, City Council has recognizedaffirmed the humanitarian and civil

rights concerns with impending and ongoing evictions. Council members have

called for a halt to the evictions, recognizingnoting the benefits of encampments to

neighborhoods more broadly, as well as to the residents themselves, of supporting.

Organizations across the city join them in calling for more support to Nenookaasi

and its successors as an interim solutions to the housing crisis, while working

together to devise and implement more permanent remedies.

     72.105.       Prior to the evictionsfirst Nenookaasi eviction, residents and

organizers held a meeting with City Council and several members of the

Minneapolis government. The only invited government official who chose not to

attend was Defendant Frey.

     73.106.       This refusal to engage, coupled with his continued opposition to

building solutions that address everyone’s concerns, and his orchestration of three

evictions in one month at each subsequent Nenookaasi location, and the increasing

brutality of those evictions demonstrates Defendant Frey’sFrey continually reveals

his knowing disregard for the health, safety, and wellbeing of Indigenous and


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unhoused people through this refusal to collaborate, continued opposition to

solutions, and ongoing evictions.

     74.107.        At these evictions, Defendant purporteds to have reasonable

policies and procedures in place during evictions to safeguard Plaintiffs’

constitutional and statutory rights. In practice, regardless of what policies he may

point to on the City’s website, Defendant has taken no such pains when repeatedly

evicting Camp Nenookaasi residents. At the first Nenookaasi eviction, with a large

crowd of supporters, politicians, and media to bear witness, residents were given

almost a week’s notice and an opportunity to make several trips to retrieve their

belongings. But this highly publicized eviction was a performance: since then

evictions happen without any notice. Plaintiffs risk arrest or physical harm should

they attempt to flee with anything more than one or two armloads’ worth of

belongings.

     75.      On December 29, a notice was posted announcing that the eviction

would take place on January 4, 2024. For the next two evictions, no such prior

notice of an impending eviction date was given. Residents Plaintiffs only becaome

aware that they weare being evicted when they woake in the morning to the sound

of drones flying overhead, and sawlaw enforcement yelling at them to get up and

leave, and City and law enforcement vehicles staging on the streets around them.




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     76.108.        During the evictions, law enforcement marked Nenookaasi off         Formatted: Outline numbered + Level: 1 + Numbering
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with crime scene tape. On the January 30th and February 1st evictions, the crime

scene tape and police barricades encompassed a multi-block radius around

Nenookaasi, not just the camp’s perimeter. Law enforcement allowed friends,

family, and Even social service agencies who Defendant claims are on site to enter

the camp and assist the residents during the January 4th eviction,are often not

notified of evictions but became progressively more restrictive at the second and

third evictions, arbitrarily delaying, impeding, obstructing,instead find out when

street closures and law enforcement staging areas disrupt their morning commutes

to work or at times outright refusing access to a variety of parties including press,

family and community members, attorneys, social service agencies, and even

residents themselvesschool.

     77.109.        Residents themselves wereare made to understand that they

wouldwill be arrested –or bulldozed–if they delayed in packing up and leaving,

which threats forced them to rush to gather their belongings in an atmosphere of

panic and fear. They are sometimes too afraid of being arrested to wait for service

providers or supporters to arrive.

     110.    Despite Defendant’s public statements and claims to the contrary,

Regardless of what policies the Defendant may point to on the City’s website,




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shelter beds, housing, and storage are not meaningfully available to Plaintiffs

before or during evictions.

     78.111.        Storage opportunities have beenare limited to nonexistent,          Formatted: Outline numbered + Level: 1 + Numbering
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offered in only specific instances to particular residents who happened to present at

the time, and often in circumstances that weare untrustworthy, impractical, or

entirely unusable for those who were offered such storage opportunities.. Plaintiffs

either hadve no idea that storage wasis ostensibly available to them, and/or hadve

no way of accessing or utilizing the storage facility all the way downtown, or

kneow that such storage wasis not a viable option due to the size limits and other

restrictions, as well as and the practical difficulties in accessingmatter of needing

regular access to their stored items that otherwise might be needed on a daily

basisbelongings.

     79.     Some Plaintiffs left Nenookaasi on eviction day before any service or

support agencies arrived, because they feared that they would be arrested if they

waited. The City did not even notify most of the service agencies of the surprise

evictions on January 30 and February 1, some of whom later arrived only because

service providers noticed the barricades on their morning commutes or because

residents placed calls for help.

     112.    After the evictions, city workers haul and dump rubble on the vacated

lots to render old sites unusable and inaccessible to Plaintiffs. Hundreds of


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thousands of City dollars that are earmarked for responding to the crisis of

homelessness have instead gone to pay for putting fences up around empty land.

      80.113.       The Mayor’s office espouses a goal of deterring encampments.           Formatted: Outline numbered + Level: 1 + Numbering
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The intentional and arbitrary destruction of the City’s own (stolen) land reveals the

Mayor’s strategy: to ensure that Nenookaasi, like its residents, hasunhoused people

have fewer and fewer places it isthey are allowed to be.

      81.114.       As therelentless evictions have gone oncontinue, many

Plaintiffs suffer relapses or overdoses because of the stress that evictions bring on.

Losing belongings and family heirlooms, connections to supportersfriends and

service providers, identification, and shelter causes other cascading setbacks and

increased challenges in attempting to attain sobriety, housing, employment, and

other forms of permanent stability. People go missing altogether after the evictions,

or lose their familyloved ones.

      82.115.       Without the injunctive relief Plaintiffs now seek, they will be

stuck in this pointless cycle until they die or until they run out of places to relocate

to.




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                               CAUSES OF ACTION

                                      COUNT I:
  Unlawful Seizure & Destruction of Plaintiffs’ Property in Violation of the
Fourth Amendment of the United States Constitution and Article I, Section 10
                      of the Minnesota Constitution
      83.116.         Plaintiffs reallege and incorporate the preceding paragraphs as      Formatted: Outline numbered + Level: 1 + Numbering
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if fully set forth herein.

      84.117.        The Fourth Amendment to the United States Constitution and

its identically worded counterpart, Article I Section 10 of the Minnesota

Constitution, afford all civilians in the United States the right “to be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures.”

      85.118.        This Constitutional Right protects Plaintiffs’ homes and

belongings at Camp Nenookaasi.as unhoused persons with expectations of privacy

over their guarded belongings. See, e.g., State v. Pippin, 200 Wn. App. 826

(Wash. Ct. App. 2017) (finding that an unhoused person had privacy interests in

their tent). “The Fourth Amendment protects homeless individuals from seizure

and summary destruction of their unabandoned, but temporarily unattended,

personal property.” Coalition on Homelessness v. City and County of San

Francisco, 647 F. Supp. 3d 806, 837 (9th Cir. 2023N.D. Cal. 2022) (citing Lavan

v. City of Los Angeles, 693 F.3d 1022).) (abrogated on other grounds by City of

Grants Pass, Oregon v. Johnson, 144 S.Ct. 2202 (2024)).



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     86.119.        The repeated seizures and destruction of Plaintiffs’ property

during the evictions of Camp Nenookaasi constitutes aand its successors constitute

meaningful interference with Plaintiffs’ possessory interests in their property, and

thus a “seizure.” Id.

     87.120.        Defendant Frey’s repeated seizure and destruction of Plaintiffs’

property without a valid warrant, probable cause, or exigent circumstances is

unreasonable and contrary to the Fourth Amendment to the U.S. Constitution, as

applied to State governments and their subdivisions pursuant to the Fourteenth

Amendment and 42 U.S.C. § 1983, and Article I, Section 10 of the Minnesota

Constitution.

     88.121.        Defendant Frey’s policies, practices, and custom of directing

his law enforcement officers to seize and destroy Plaintiffs’ property without a

valid warrant, probable cause, or exigent circumstances is unreasonable and

contrary to the Fourth Amendment to the U.S. Constitution, as applied to State

governments and their subdivisions pursuant to the Fourteenth Amendment and 42

U.S.C. § 1983, and Article I, Section 10 of the Minnesota Constitution.

                                    COUNT II:

 Procedural Due Process Violations Under the Fourteenth Amendment of the
     United States Constitution and Article I, Section 7 of the Minnesota
                                Constitution




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      89.122.        Plaintiffs reallege and incorporate the preceding paragraphs as     Formatted: Outline numbered + Level: 1 + Numbering
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if fully set forth herein.

      90.123.        Plaintiffs have a constitutionally protected property interest in

their personal belongings and effects.

      91.124.        Defendant Frey’s repeated seizure and destruction of Plaintiffs’

property deprives them of this protected interest in their personal belongings and

effects.

      92.125.        Defendant Frey’s repeated seizure and destruction of Plaintiffs’

property without adequate and effective notice, an opportunity to be heard, and

pre- and post-deprivation mechanisms to challenge and reclaim their property

violates Plaintiffs’ rights to Due Process of law protected by the Fourteenth

Amendment to the U.S. Constitution, through 42 U.S.C. § 1983, and Article I,

Section 7 of the Minnesota Constitution.

      93.126.        Defendant Frey’s policy, pattern, and custom of seizing and

destroying Plaintiffs’ property without adequate and effective notice, an

opportunity to be heard, and pre- and post-deprivation mechanisms to challenge

and reclaim their property violates Plaintiffs’ rights to Due Process of law

protected by the Fourteenth Amendment to the U.S. Constitution, through 42

U.S.C. § 1983, and Article I, Section 7 of the Minnesota Constitution.




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                                     COUNT III:
  State-Created Danger in Violation of the Right to Substantive Due Process
 Under the Fourteenth Amendment of the United States Constitution and the
                          Minnesota Constitution
      94.127.        Plaintiffs reallege and incorporate the preceding paragraphs as    Formatted: Outline numbered + Level: 1 + Numbering
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if fully set forth herein.

      95.128.        Plaintiffs are members of a limited, precisely definable group.

      96.129.        Defendant Frey’s prior and continued impending use of

bulldozers, and armed law enforcement officers, and chemical irritants when

forcefully ejecting Plaintiffs from their only shelters, and without adequate notice,

places Plaintiffs at significant risk of serious, immediate, and proximate harm that

Plaintiffs would not otherwise have faced without Defendant’s actions.

      130.    Defendant refuses to provide and/or adequately service port-a-potties,

trash pick-up, and other simple, life-saving sanitation facilities at encampments.

Residents inevitably fall ill due to diseases that would be entirely preventable with

such facilities. Defendant uses the foreseeable consequences of intentionally under

resourcing camps as the basis for ordering emergency personnel not to respond to

treat people within encampments.




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     131.    Repeated evictions force Plaintiffs to remain vulnerable and trapped

in cycles of homelessness, where they are then preyed upon by human traffickers,

drug dealers, arsonists, and murderers, which the City then declines to investigate.

     97.132.        The risk to Plaintiffs created by Defendant Frey’s conduct was     Formatted: Outline numbered + Level: 1 + Numbering
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and remains obvious and known to him.

     98.133.        Defendant Frey’s prior and impending actions in repeatedly

evictingPlaintiffs and destroying Campforcing Nenookaasi areto disband were

done recklessly and in conscious disregard of the risks they have previously

created and continue to create because of the forceful manner in which his law

enforcement officers have ejected and plan to continue ejecting Plaintiffs from

their shelters, destroying their vital personal property in the process.

     99.134.        Defendant Frey’s conduct, as outlined in this Complaint and

articulated by numerous outraged residents and neighbors at public comment

hearings throughout the past year, shocks the conscience.

     100.135.       As a direct and proximate consequence of Defendant Frey’s

above-described policy, pattern, and custom, Plaintiffs were and continue to be

subjected to danger of Defendant’s own making in violation of the Fourteenth

Amendment to the United States Constitution, through 42 U.S.C. § 1983, and the

Minnesota Constitution.

                                     COUNT IV:


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             Violation of the Eighth Amendment to the US Constitution
                     Intentional Infliction of Emotional Distress
      101.136.       Plaintiffs reallege and incorporate the preceding paragraphs as    Formatted: Outline numbered + Level: 1 + Numbering
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if fully set forth herein.

      102.     The Eighth Amendment to the U.S. Constitution, as applied to the

States and their subdivisions through the Fourteenth Amendment, protects civilians

from “cruel and unusual punishment.”

      103.     “The Eighth Amendment prohibits the state from punishing an

involuntary act or condition if it is the unavoidable consequence of one’s status or

being.” Coalition on Homelessness, 647 F.Supp. 3d at 832 (quoting Martin v. City

of Boise, 920 F.3d 584, 616 (9th Cir. 2019)). This includes “criminaliz[ing]

indigent, homeless people for sleeping outdoors, on public property, on the false

premise they had a choice in the matter.” Id. at 833.

      104.     Plaintiffs do not have reasonable alternatives to living at Camp

Nenookaasi.

      105.     By repeatedly evicting Plaintiffs, regardless of where Camp

Nenookaasi is located, and under penalty of arrest, Defendant Frey and his law

enforcement officers impose or threaten to impose criminal penalties and other

harm and punishment for conduct which Plaintiffs cannot avoid.

      106.     The manner in which these evictions are carried out—by armed law

enforcement officers under threat of arrest, with residents often pulled out of their

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tents forcibly, arrested, and even tear-gassed or sprayed with chemical irritants,

their belongings bulldozed, destroyed, and trashed—amounts to a penalty, harm,

and/or punishment that Defendant Frey and his law enforcement officers impose or

threaten to impose for conduct which Plaintiffs cannot avoid.

                                     COUNT V:
              Conversion in Violation of Minnesota Common Law
      107.   Plaintiffs reallege and incorporate the preceding paragraphs as if fully

set forth herein.

      108.   Plaintiffs are in possession of their personal property and Defendant

Frey has repeatedly directed his agents to intentionally seize and destroy Plaintiffs’

property without notice, an opportunity to retrieve it, or adequate compensation,

depriving Plaintiffs of their possessory interest in the property.

      109.   Upon information and belief, Defendant Frey intends to continue

directing his agents to intentionally seize and destroy Plaintiffs’ property without

notice, an opportunity to retrieve it, or adequate compensation, depriving Plaintiffs

of their possessory interest in the property.

      110.   Defendant Frey has no lawful authority to seize or order others to

seize and destroy Plaintiffs’ property in this manner. As a direct and proximate

consequence of Defendant Frey’s acts in authorizing these evictions, Plaintiffs will

suffer the loss of their personal property.



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     137.    COUNT VI:“The tort of intentional infliction of emotional distress

requires proof that: (1) the conduct complained of was extreme and outrageous; (2)

the conduct was intentional or reckless; (3) the conduct caused emotional distress;

(4) and the distress suffered was severe.” Kelly v. City of Minneapolis, 598 N.W.

657, 666 (1999) (citing Hubbard v. United Press Int'l, Inc., 330 N.W.2d 428, 438-

39 (Minn.1983)). A Defendant’s conduct must “pass[] the boundaries of decency”

and be “utterly intolerable to the civilized community.” Id.

     138.    Defendant’s commitment to evictions, in the face of evidence,

testimony, and public outcry that evictions actually exacerbate the harms used to

justify them, is outrageous.

     139.    It is outrageous to evict Indigenous people from their own ancestral

homelands.

     140.    It is utterly intolerable to spend money that was earmarked for helping

unhoused people on building fences to keep them out of the only places they feel a

modicum of safety.

     141.    It is extreme to push the same group of people from one vacant lot to

another in the same half-mile radius instead of providing them with basic hygiene

supplies.




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      142.   It is deplorable to blame the violence of people who prey on the City’s

most vulnerable constituents on those constituents themselves, as a pretext for not

defending or supporting them.

      143.   It is cruel to promise to provide unhoused people with housing,

storage, and shelter beds, and to then blame those same people for not accessing

them, when in fact these services are inadequate, inhumane, inaccessible, or even

wholly nonexistent.

      144.   The trauma of repeatedly being told you do not belong, of repeatedly

being exposed to dangerous elements of all sorts, of having your family heirlooms

and pictures of your children considered to be garbage, of falling asleep every

night not knowing whether you will wake up to law enforcement shouting you out

of your only shelter, this is the result of behavior that can only be described as

outrageous and causes severe and devastating impacts on Plaintiffs’ emotional

stability and will to survive.

      145.   These evictions are intentional; Defendant orders them to occur and

maintains full control over the agencies carrying them out. Defendant has had

every opportunity, including by official actions taken by his own City Council, to

learn about the severe devastation his evictions cause to Plaintiffs and other

unhoused residents of Minneapolis. His decision to continue ordering eviction after

eviction is nothing short of disturbingly well-informed.


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                                     COUNT V:

 Violation of Title II of the Americans with Disabilities Act, 42 U.S.C. § 12131
                                     et seq.

      111.146.       Plaintiffs reallege and incorporate the preceding paragraphs as     Formatted: Outline numbered + Level: 1 + Numbering
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if fully set forth herein.

      112.147.       Title II of the Americans with Disabilities Act (ADA), 42

U.S.C. § 12132, prohibits discrimination against people with disabilities by state

and local governments and their programs. Title II provides that “no qualified

individual with a disability shall, by reason of such disability, be excluded from

participation in or be denied the benefits of the services, programs, or activities of

a public entity, or be subjected to discrimination by any such entity.”

      113.148.       As a public entity, Defendant Frey is required to comply with

Title II of the ADA, and the actions of Defendant alleged in this Complaint, in his

official and individual capacity, relate to services, programs, and activities under

Title II.

      114.149.       Discrimination under Title II of the ADA includes

administration of programs in a manner that has a discriminatory effect on people

with disabilities, or that has the “effect of defeating or substantially impairing the

accomplishment of the objectives of the service, program, or activity with respect

to individuals with disabilities.” 28 C.F.R. § 35.130(f).




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     115.150.       Plaintiffs, the residents of Camp Nenookaasi, are individuals

with physical and/or mental disabilities, disorders, and/or conditions including

substance use disorders, and thus are “qualified persons with disabilities” as

defined under the ADA.

     116.151.       Defendant Frey’s repeated evictions of Camp Nenookaasi

residents disparately impact people with disabilities, in violation of the ADA—the

people whom Defendant Frey has forcibly removed from their homes and deprived

of their personal property under threat of incarceration, and whom Defendant Frey

continues to threaten with such treatment, are disproportionately (and exclusively)

people with disabilities. The ADA prohibits such discrimination.

     117.152.       Even if there were sufficient shelter beds or storage

meaningfully available—which is not the case—placement in large, crowded

shelters where people are forced to sleep on mats on the ground and permitted to

stay only upon compliance with rigid rules are unsuitable for people with

disabilities because of their disability-related impairments. Nor is storage

downtown feasible for people with limited mobility, difficulty traveling, and the

need to access stored belongings.

     118.153.       Repeated evictions of Camp Nenookaasi residentsPlaintiffs

without first identifying and offering appropriate alternative shelter that meets




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theand storage for belongings that meet their disability-related needs of residents

does not serve any compelling governmental interest of Defendant Frey.

      119.154.      Furthermore, Defendant Frey’s duty not to discriminate against

people with disabilities under Title II of the ADA includes a duty to provide

reasonable modifications in otherwise neutral policies or practices “when the

modifications are necessary to avoid discrimination on the basis of disability,

unless the public entity can demonstrate that making the modifications would

fundamentally alter the nature of the service, program, or activity.” 28 C.F.R. §

35.130(b)(7)(i).

      120.155.      Plaintiffs have repeatedly asked Defendant Frey to postpone the

repeated evictions of Camp Nenookaasi until appropriate alternative shelter—

shelter that would meet Plaintiffs’ disability related needs—is made available.

Existing shelter beds are neither sufficient in number to house all Nenookaasi

residents, nor are they at all appropriate to meet Plaintiffs’ needs related to their

physical and/or mental disabilities, disorders, and/or conditions including

substance use disorders.

      121.156.      In response to these repeated requests—from Plaintiffs, their

supporters, City councilmembers, and undersigned counsel—Defendant Frey not

only proceeded with the eviction of Camp Nenookaasi on January 4, 2024, but has




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repeated the evictions again and again no matter where residents have sought

refuge.

      122.157.       A temporary halt to the ongoing evictions of Camp Nenookaasi

residents until there is a realistic and appropriate alternative housing option for

residents would not impose a fundamental alteration in Defendant Frey’s

programs. To the contrary, it would serve his purported goal to “end

homelessness.”

      123.158.       By refusing such reasonable accommodations, Defendant Frey

has violated and continues to violate Title II of the ADA.

      124.159.       Finally, Defendant Frey’s repeated evictions of Camp

Nenookaasi residents and refusal to postpone the evictions until a reasonable

accommodation can be made, amounts to intentional discrimination against

Plaintiffs on the basis of their disability.

      125.160.       Defendant Frey knows that the residents of Camp

Nenookaasi—an Indigenous healing camp serving people struggling with

substance use disorder and others with qualified disabilities under the ADA—are

disproportionately if not exclusively people with disabilities.

      126.161.       Defendant Frey is aware, and has been made aware, that

existing shelter “beds” are not a realistic or appropriate housing alternative for




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Camp Nenookaasi residents, including for reasons related to their disabilities, and

that residents have requested reasonable alternative housing.

      127.162.       Nevertheless, Defendant Frey has refused requests to halt

evictions and repeatedly evicted Camp Nenookaasi residents—three times from

three separate locations in the past month—despite his knowledge that residents

lack any meaningful and appropriate housing alternative.

      128.163.       In doing so, Defendant Frey is administering programs in a way

that intentionally discriminates against Plaintiffs, as people with disabilities and on

the basis of those disabilities.


                             DECLARATORY RELIEF

      129.164.       Plaintiffs reallege and incorporate the preceding paragraphs as      Formatted: Outline numbered + Level: 1 + Numbering
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if fully set forth herein.

      130.165.       An actual controversy exists between Plaintiffs and Defendant

Frey. Defendant Frey has repeatedly engaged in the unlawful and unconstitutional

acts set forth herein and has announced his plans to continue doing so.

      131.166.       Plaintiffs have suffered, will continue to suffer, and will face

imminent and increased suffering as a result of Defendant Frey’s unlawful

behavior. Plaintiffs seek a declaration of their rights with regard to this controversy

and a declaration that Defendant Frey’s policies, practices, and customs as set forth




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herein violate those rights under the United States and Minnesota Constitutions,

state tort law, and the Americans with Disabilities Act.

                                PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully ask this Honorable Court for the following

relief:

   1. For preliminary and permanent injunctive relief enjoining Defendant Frey             Formatted: Outline numbered + Level: 1 + Numbering
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          and his officials, employees, agents, officers, assigns, and all those working

          in concert with him from moving forward with evicting the residents of

          Camp Nenookaasiencampments in East Phillips, unless and until safe,

          adequate, accommodative of disability, culturally appropriate, stable housing

          can be guaranteed and provided to all residents or unless such evictions are

          temporary relocations conducted in the same manner as law enforcement

          might clear an apartment or school in the case of an active shooter or a house

          fire;

   2. For declaratory relief, pursuant to 28 U.S.C. §§ 2201, 2202, and Rule 57 of

          the Federal Rules of Civil Procedure, as requested above;

   3. For compensatory and punitive damages, in amounts to be determined in

          future proceedings, against Defendant Frey;

   4. For an award of attorneys’ fees and costs pursuant to 42 U.S.C. § 1988; and

   5. For any other relief that this Honorable Court deems equitable and just.


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                                 JURY DEMAND

      Plaintiffs hereby demand a trial by jury pursuant to Federal Rule of Civil

Procedure 38(b) on all issues so triable.

                                                   Signed,

Date: February 13September 15, 2024
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                                                   KIRA A. KELLEY
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